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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )           CASE NO. 8:04CR262
                                            )
                     Plaintiff,             )
                                            )
       vs.                                  )                   ORDER
                                            )
BRANDY K. BRENTON,                          )
                                            )
                     Defendant.             )

       This matter is before the Court on the Defendant’s pro se Motion for New Trial and

a Hearing (Filing No. 76).

       The Defendant is cautioned that any further communication with the Court must be

through her attorney.

       After careful consideration,

       IT IS ORDERED that the Defendant’s pro se Motion for New Trial and a Hearing

(Filing No. 76) is denied.

       DATED this 11th day of May, 2005.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge
